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Phoenix Professional Services
4848 E. Cactus Road, Ste. 505-84
Scottsdale. AZ 85254
(480) 361-9959©2O01 PPS




                                   IN THE UNITED STATES DISTRICT COURT
                                    IN AND FOR THE DISTRICT OF ARIZONA

 TODD SCHWARTZ, a married man.
                                                                Plaintiff
 vs.                                                                                      CASE NO, 2:20-cv-02002-
                                                                                                  DJH
 4 EVER LIFE INTERNATIONAL LIMITED dba 4 EVER LIFE
 INSURANCE COMPANY; an Illinois corporation; BLUE
 CROSS AND BLUE SHIELD OF ARIZONA. INC., an Arizona                                     CERTIFICATE OF SERVICE
 non-profit corporation; and BLACK and WHITE                                                 OF PROCESS
 CORPORATIONS l-X,
                                                              Defendant.

       1, the Affiant, certify under penalty of perjury that I am fully qualified to serve process in this case,
having been so appointed by the Court; that i have received and served the fol!o\A/ing documents in the
manner set forth belov/:
RECEIVED FROM:            Tiffany & Bosco, P.A.
DATE RECEIVED:            October 26, 2020
DOCUMENTS                 Summons, First Amended Complaint, Certificate of Compulsory Arbitration: Notice
                          of Removal: Order Setting Rule 16 Schedule Conference, Notice of Availability of
                          US Magistrate Judge: Order;
UPON:                     BLUE CROSS BLUE SHIELD ASSOCIATION, c/o Deanna Salazar. Statutory Agent
ADDRESS;                 2444 W Las Palmaritas Drive, Phoenix, AZ
MANNER:                   Personally hand-delivered said documents to Christopher Kourouma, who stated
                          he is authorized to accept service, at his usual place of employment.
DATE:                     October 27, 2020                                          TIME: 3:09 PM
DESCRIPTION



        I certify under penalty of perjury that the foregoing is true and correct.



                                                                                                  I
                                                                            Affiant: E^ard^Pulley
Dated this          day of                           2020.                  Registered: Maricopa County

Service:                       16 00
Travel miles       10          24 00
Attempt miles       7          16 80   Attempted service at address provided of Arizona Department of Insurance - v^ould not
                                       accept service
Attempt miles       0           0 00
Attempt miles.      0           0 00
Other.                          0 00
Cert Prep fee                   8 00
                               64 80
